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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 AUGUSTUS MILES, JR.                 * CIVIL ACTION NO. 20-2872
                                     *
 VERSUS                              * SECTION: “A”(1)
                                     *
 UNITED STATES POSTAL SERVICE        * JUDGE JAY C. ZAINEY
                                     *
                                     * MAGISTRATE JUDGE
                                     * JANIS VAN MEERVELD
 *********************************** *
                                   ORDER

        The Court, after considering the record, the applicable law, the Magistrate Judge’s Report

and Recommendation, and finding that as of this date the parties have filed no objections to the

Magistrate Judge’s Report and Recommendation, hereby approves the Magistrate Judge’s Report

and Recommendation and adopts it as its opinion. Accordingly,

       IT IS ORDERED that Plaintiff’s complaint is dismissed without prejudice.

       December 2, 2021


                                             _______________________________
                                                     JAY C. ZAINEY
                                             UNITED STATES DISTRICT JUDGE




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